      Case 2:17-cv-00112-RSB-BWC Document 51 Filed 12/14/18 Page 1 of 4



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION


Roxanne King, et al.,

                Plaintiffs,                               CIVIL ACTION NO.: 2:17-CV-112

       v.

Parker Marcy, et al.,

                Defendants.

                                        STATUS REPORT

       With the discovery period having now concluded in the above captioned case, the Parties

make the following report to the Court.

I.     DISCOVERY

       A. Is all discovery completed in this case?

                ☐ Yes          ☒ No

               If “No”, please list what discovery is remaining:

                Plaintiffs’ Response: Two of the Defendants are deployed in the military and
                have not been deposed. There are a few other depositions that Plaintiffs
                would like to take and that should be able to be taken within the next month.

                Defendants’ Response: Defendants object to any further discovery. The
                discovery period has already been significantly protracted, and Plaintiffs
                have never sought any further extensions of the discovery period.

       B. Are there any discovery issues which have been or will be brought before the Court
          for resolution?

                ☐ Yes          ☒ No

               If “Yes”, please briefly explain:
      Case 2:17-cv-00112-RSB-BWC Document 51 Filed 12/14/18 Page 2 of 4



             Click here to enter text.

II.   SETTLEMENT

      A. Have the parties made efforts to resolve this case?

             ☐ Yes           ☒ No

            If “Yes”, please explain those efforts:

             Click here to enter text.

      B. Are the parties prepared to discuss settlement of this case with the Court at this time?

             ☐ Yes           ☒ No

            If “No”, please explain:

                    Defendants intend to file a motion for summary judgment on all
             claims. The undersigned defense counsel does not believe that settlement
             discussions would be fruitful until after a ruling on that anticipated motion.

      C. Are there any third parties and/or lien holders that should be included in any
         settlement discussions for this case?

             ☒ Yes           ☐ No

            If “Yes”, please list those parties:

                    Defendants may have coverage for the claims asserted in this case
             pursuant to a coverage agreement between Glynn County and the
             Association of County Commissioners of Georgia – Interlocal Risk
             Management Agency. Therefore, a representative from that entity would
             need to be involved in any settlement discussions.

      D. The Parties propose the following agreed upon dates, prior to the deadline for filing
         motions, for conducting a status conference. (Please provide several dates for the
         Court’s consideration in scheduling. Regardless of whether the Parties seek to
         discuss settlement, the Court may require that each party have a representative with
         full settlement authority present.)

                     If the Court wishes to conduct a status conference, the undersigned


                                                2
       Case 2:17-cv-00112-RSB-BWC Document 51 Filed 12/14/18 Page 3 of 4



               can be available on December 21 or 27.
                      As an additional note, if the Court wishes to have a status conference
               and requires that someone with settlement authority be present, Defendants
               respectfully request that they be allowed to have someone with settlement
               authority participate by telephone. Alternatively, Defendants request that the
               conference be scheduled for a later date in order to allow Defendants’
               representative ample time to make travel arrangements. As noted above,
               Defendants would need to have present a representative from the Association
               of County Commissioners of Georgia-Interlocal Risk Management Agency.
               That representative is located in Atlanta.



III.   MOTIONS

       A. The Plaintiff(s) anticipate filing the following Motions:

                       ☐       None
                       ☐       Motion for Summary Judgment
                       ☐       Motion to Exclude Expert Testimony
                       ☒       Other Motion(s) (Except for Motions in Limine), please explain:

                      The Plaintiffs will ask for leave to substitute the executor of the
               Estate of Corey Sasser, who is now deceased. The executor was
               appointed on August 27, 2018, and has the six month protection
               against suit until February 27, 2018, provided by law.

       B. The Defendant(s) anticipate filing the following Motions:

                       ☐       None
                       ☒       Motion for Summary Judgment
                       ☐       Motion to Exclude Expert Testimony
                       ☐       Other Motion(s) (Except for Motions in Limine), please explain:

                               Click here to enter text.

IV.    ADDITIONAL MATTERS

       If there are any other matters regarding this case that the Parties seek to bring to the

Court’s attention at this time, please briefly explain:



                                                  3
     Case 2:17-cv-00112-RSB-BWC Document 51 Filed 12/14/18 Page 4 of 4




              There are several other motions currently pending before the Court.
      In this regard, six of the Defendants have pending motions to dismiss. Also,
      the Plaintiffs have a Motion for Default Judgment and a Motion to Strike the
      Answer of one of the Defendants.
              The Plaintiffs may also file a Motion to Strike the Answers of 2
      Defendants who failed to appear for their duly noted depositions.



Dated: December 14, 2018



                                /s/ W. Douglas Adams
                                                                   Counsel for Plaintiff(s)



                                /s/ Steven G. Blackerby
                                                                 Counsel for Defendant(s)




                                           4
